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                                                                          Facsimile: (713) 681-2811
14
      Attorneys for Plaintiffs and the Proposed Classes
15

16                                            UNITED STATES DISTRICT COURT
17                                        NORTHERN DISTRICT OF CALIFORNIA
18                                                     OAKLAND DIVISION
19   STACIA STINER, et al., on behalf of themselves                     Case No. 4:17-cv-03962-HSG (LB)
     and all others similarly situated,
20
                            Plaintiffs,                                 DECLARATION OF GUY B. WALLACE IN
21                                                                      SUPPORT OF PLAINTIFFS’ MOTION
     vs.
                                                                        FOR CLASS CERTIFICATION
22
     BROOKDALE SENIOR LIVING, INC.;
23   BROOKDALE SENIOR LIVING                                            Date:      May 26, 2022
     COMMUNITIES, INC.; et al.,                                         Time:      2:00 p.m.
24                                                                      Place:     Courtroom 2
                            Defendants.                                 Judge:     Hon. Haywood S. Gilliam, Jr.
25

26
                                                             REDACTED
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28

                   DECL. OF GUY B. WALLACE IN SUPPORT OF MOTION FOR CLASS CERTIFICATION – CASE NO. 4:17-cv-03962-HSG (LB)
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 1                 I, Guy B. Wallace, declare:

 2                 1.      I am a senior partner at the law firm of Schneider Wallace Cottrell Konecky LLP

 3   (“Schneider Wallace”). I am a member in good standing of the Bar of the State of California. I am

 4   co-lead counsel of record with Gay Crosthwait Grunfeld, Kathryn A. Stebner and David T. Marks for

 5   Plaintiffs and the proposed classes in the above-captioned matter (collectively “Plaintiffs”). I have

 6   personal knowledge of the facts set forth in this Declaration and could and would testify competently to

 7   them.

 8                 2.      This Declaration is submitted in support of Plaintiffs’ Motion for Class Certification in

 9   the above-captioned matter.

10                             QUALIFICATIONS AND PROFESSIONAL BACKGROUND

11                 3.      I graduated from Harvard Law School in 1993. From 1993 to 1994, I was a Skadden
12   Fellow at the Disability Rights Education and Defense Fund. From 1994 to 1998, I was a Skadden
13   Fellow and then Staff Attorney at Disability Rights Advocates. Between March 1998 and June 2000, I
14   was a Staff Attorney at the Legal Aid Society of San Francisco / Employment Law Center and served as
15   head of the disability rights practice. I became a partner in the firm now known as Schneider Wallace
16   Cottrell Konecky LLP in June 2000.
17                 4.      During my twenty-seven (27) years of practice I have had extensive experience in class
18   actions and other complex litigation. In particular, I have specialized in disability civil rights class
19   actions as well as wage and hour, employment, and other consumer class action matters. I have served
20   as lead counsel, co-lead counsel, or class counsel in more than thirty class actions, and have done so
21   through trial and on appeal. These cases have included, among many others, the following:
22                     Nevarez v. Forty Niners Football Co., LLC, Case No. 5:16-cv-07013-LHK (SVK): lead
23                      counsel in systemic, disability access class action involving claims under Title II and Title
24                      III of the Americans with Disabilities Act of 1990. This case settled for more than $15
25                      million in injunctive relief and $24 million in class damages, the largest class damages
26                      settlement regarding disability access to a public accommodation in United States history.
27                     Willits v. City of Los Angeles, Case No. 10-05782 CBM (RZx) (C.D. Cal.): lead counsel in
28                      systemic, disability access class action involving claims under Title II of the Americans with

                                                               1
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 1                     Disabilities Act of 1990. This case settled for $1.37 billion in injunctive relief remedying

 2                     physical access barriers to persons with mobility disabilities in the City’s pedestrian rights of

 3                     way, the largest systemic disability access settlement in United States history.

 4                    Carnes v. Atria Senior Living, Inc., Case No. 3:14-cv-02727-VC (N.D. Cal.): co-lead
 5                     counsel in statewide class action alleging violations of California’s Consumer Legal

 6                     Remedies Act, California’s unfair competition statute, and the Financial Elder Abuse statute

 7                     on behalf of assisted living facility residents. This case settled for $6.3 million and changes

 8                     in the defendant’s policies.

 9                    Winans v. Emeritus Corp., Case No. 3:13-cv-03962-SC (N.D. Cal.): co-lead counsel in
10                     statewide class action alleging violations of California’s Consumer Legal Remedies Act,
11                     California’s unfair competition statute, and the Financial Elder Abuse statute on behalf of
12                     assisted living facility residents. This case settled for $13.5 million and significant changes
13                     in the defendant’s policies.
14                    Shemaria v. County of Marin, Case No. CV 082718 (Marin County, Sup. Ct.): lead counsel
15                     in disability access class action involving claims under Title II of the Americans with
16                     Disabilities Act of 1990 and California Government Code § 11135, et seq. This case settled
17                     for $15 million in injunctive relief remedying physical access barriers to persons with
18                     mobility disabilities in the County’s Civic Center, parks, swimming pools, libraries, and
19                     pedestrian rights of way.
20                    Williams v. H&R Block, Case No. RG08366506 (Alameda County, Sup. Ct., Complex
21                     Cases Dept.): co-lead counsel in statewide wage and hour class action on behalf of managers
22                     at H&R Block alleging misclassification and failure to pay overtime hours and all hours
23                     worked. This case settled for $6.4 million.
24                    Holloway v. Best Buy, Case No. C-05-5056 PJH (MEJ) (N.D. Cal.): class counsel in Title
25                     VII pattern or practice class action settlement regarding race and gender discrimination.
26                     This case settled for injunctive relief regarding the company’s policies, procedures and
27                     practices regarding promotions and compensation.
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 1                    Rosa v. Morrison Homes, Case No. 373059 (Stanislaus County, Sup. Ct., Complex Cases
 2                     Dept.): co-lead counsel in novel construction defect class action involving 400 homes. This

 3                     case settled for $5.9 million including repairs to the subject homes.

 4                    Wren v. RGIS, Case No. C-06-05778 JCS (N.D. Cal.): lead counsel in wage and hour
 5                     national class action involving California, Washington, Oregon, Illinois and federal FLSA

 6                     violations. This class included over 62,000 RGIS employees. This case settled for $27

 7                     million in addition to injunctive relief regarding company policies and procedures regarding

 8                     payment for all employee hours worked.

 9                    Chau v. CVS, Case No. BC349224 (Los Angeles County, Sup. Ct., Complex Cases Dept.):
10                     co-lead counsel in wage and hour settlement on behalf of statewide class of pharmacists
11                     alleging meal and rest period violations as well as overtime pay violations. This case settled
12                     for $19.75 million.
13                    Satchell v. FedEx Express, Inc., Case No. C-03-2659 SI (N.D. Cal.): co-lead counsel in Title
14                     VII pattern or practice class action regarding race discrimination. This case settled for over
15                     $38 million and injunctive relief regarding the company’s employment policies, procedures,
16                     and practices.
17                    Cherry v. City College of San Francisco, Case No. C-04-4981 WHA (N.D. Cal.): lead
18                     counsel in class action regarding physical and programmatic access to the San Francisco
19                     Community College District on behalf of students with mobility disabilities. This case led to
20                     a Stipulated Judgment against the College that resulted in the expenditure of over $20
21                     million in injunctive relief remedying physical access barriers to persons with mobility
22                     disabilities in numerous campuses of City College.
23                    Lopez v. San Francisco Unified School District, Case No. C-99-3260 SI (N.D. Cal.): lead
24                     counsel in class action regarding physical and programmatic access to the San Francisco
25                     public schools on behalf of students and adults with mobility and/or vision disabilities. This
26                     case resulted in a Stipulated Judgment against the school district requiring over $400 million
27                     in injunctive relief remedying physical access barriers to persons with mobility disabilities in
28                     100 of the district’s schools.

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 1                    Lenahan v. Sears, Roebuck & Co., Case No. 3-02-CV-000045 (SRC) (TJB) (D.N.J.): class
 2                     counsel in wage and hour collective action challenging failure to pay employees for all hours

 3                     worked as required by the Fair Labor Standards Act. This case settled for $15 million.

 4                    Singleton v. Regents of the University of California, Case No. 807233-1 (Alameda County,
 5                     Sup. Ct., Complex Cases Dept.): class counsel in employment discrimination action against

 6                     Lawrence Livermore National Laboratory for gender discrimination against women in

 7                     promotion, compensation and other terms and conditions of employment. This case settled

 8                     for $10.6 million and injunctive relief regarding the Laboratory’s employment policies,

 9                     procedures, and practices.

10                    Bates v. United Parcel Service, Case No. C-99-02216 TEH, 204 F.R.D. 440 (N.D. Cal.
11                     2001): class counsel on behalf of nationwide class of deaf and hard of hearing employees of
12                     UPS. This case settled for $5.8 million.
13                    Siddiqi v. Regents of the University of California, Case No. C 99-0970 SI, 2000 WL
14                     33190435, 81 F. Supp. 2d 972 (N.D. Cal. 1999): lead counsel in class action against two
15                     campuses of the University of California for failing to adopt and implement appropriate
16                     policies and procedures regarding auxiliary aids and services for students who are deaf or
17                     hard of hearing as required by the Americans with Disabilities Act. This case settled for
18                     injunctive relief including changes to the Universities’ policies, procedures and practices for
19                     accommodating students who are deaf or hard of hearing, as well as the remediation of
20                     communications access barriers in University lecture halls and classrooms through the
21                     installation of assistive listening systems and other access equipment and features.
22                    Weissman v. Trustees of the California State University, Case No. Civ. 97-02326 MMC
23                     (MEJ), 1998 U.S. Dist. LEXIS 22615, 1999 WL 1201809 (N.D. Cal.): co-lead counsel in
24                     class action on behalf of students and faculty members with mobility and/or visual
25                     impairments against the San Francisco State University for denial of programmatic access.
26                     This case settled for $5 million in injunctive relief requiring the removal of physical access
27                     barriers to persons with mobility and/or visual impairments at San Francisco State
28                     University.

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             DECL. OF GUY B. WALLACE IN SUPPORT OF MOTION FOR CLASS CERTIFICATION – CASE NO. 4:17-cv-03962-HSG (LB)
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 1                     Gustafson v. Regents of the University of California, Case No. C-97-4016 BZ (N.D. Cal.):
 2                      co-lead counsel in class action on behalf of students with mobility and/or vision disabilities

 3                      against the Regents of the University of California for denial of physical and programmatic

 4                      access at the University of California at Berkeley campus.

 5                     C.P. v. City and County of San Francisco, Case No. 976437 (San Francisco County, Sup.
 6                      Ct.): lead counsel in class action challenge to policy cutting off childcare benefits to foster

 7                      children with disabilities. This case was resolved with the entry of a permanent injunction

 8                      against the policy after the plaintiffs successfully sought a TRO from the superior court.

 9                     Guckenberger v. Boston University, 974 F. Supp. 106 (D. Mass. 1997); 957 F. Supp. 306
10                      (D. Mass. 1997): class counsel in class action on behalf of students with learning disabilities
11                      against a private university for policies limiting access to reasonable accommodations. This
12                      case was tried with plaintiffs obtaining substantial changes in defendants’ policies and
13                      damages for the named plaintiffs.
14                     Thomas v. BASS, Case No. 733496-8 (Alameda County, Sup. Ct.): class counsel in class
15                      action on behalf of all BASS Tickets patrons in Northern California with mobility
16                      disabilities denied equal access to defendant’s ticket selling services. This action settled
17                      with plaintiffs obtaining changes in defendant’s policies and damages.
18                     Putnam v. Oakland Unified School District, Case No. Civ. 93-3772 CW, 1995 US Dist.
19                      LEXIS 22122, 1995 WL 873734 (N.D. Cal.): class counsel in class action against large
20                      urban school district under state and federal law for the District’s failure to make its
21                      programs and facilities accessible to students with disabilities. Plaintiffs’ motion for
22                      summary judgment was granted. The case was settled requiring the defendant to make at
23                      least 25 of its schools fully accessible.
24                 5.       I serve as a member of the Board of Directors of the San Francisco Trial Lawyers
25   Association. I have served as a member of the Board of Directors of the Bar Association of San
26   Francisco. I have also served on the Board of Directors of Disability Rights California, a section
27   501(c)(3) organization committed to protecting the civil rights of persons with disabilities. I am a
28   member of the bar of the Ninth Circuit Court of Appeals and of the United States Supreme Court. I

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 1   have served as counsel in both of those courts on matters relating to employment and disability civil

 2   rights. I have been named a “Super Lawyer” in the area of civil rights by Northern California Super

 3   Lawyers magazine for the past ten years. I received the San Francisco Trial Lawyers Association’s

 4   Civil Justice Award in 2017.

 5                 6.   The firm of Schneider Wallace Cottrell Konecky LLP has an extensive practice in the

 6   areas of civil rights, wage and hour violations, disability civil rights (including both employment

 7   discrimination and access to public entities and public accommodation), and actions brought on behalf

 8   of consumers under both federal and state law. Class action and other complex litigation is the major

 9   focus of the firm. Todd Schneider founded the firm in 1993. Schneider Wallace employs between 35

10   and 40 attorneys and has acted or is acting as class counsel in many cases. The firm has represented

11   plaintiffs at all levels including the federal and state trial courts, the California Courts of Appeal, the

12   California Supreme Court, the Ninth Circuit Court of Appeals, and the United States Supreme Court.

13                                     ADEQUACY OF PLAINTIFFS’ COUNSEL

14                 7.   Proposed class counsel have extensive experience with class action lawsuits generally,
15   and in litigation under the Americans with Disabilities Act of 1990 (ADA), California’s Unruh Civil
16   Rights Act, Cal. Civ. Code §§ 51, et seq., California’s Consumer Legal Remedies Act (CLRA), Cal.
17   Civ. Code § 1750 et seq., and California’s Unfair Competition Law (UCL), Cal. Bus. & Prof. Code
18   § 17200 et seq., regarding elder abuse and elder financial abuse.
19                 8.   Co-counsel Gay C. Grunfeld is a partner of the law firm of Rosen Bien Galvan
20   & Grunfeld, LLP and was admitted to the California Bar in 1985. As described more fully in her
21   declaration in support of this Motion, Ms. Grunfeld has extensive experience in class action litigation
22   and has repeatedly been appointed class counsel by courts in the Northern and Eastern Districts of
23   California. Ms. Grunfeld represents thousands of incarcerated people with disabilities in the state of
24   California in the class action Armstrong v. Newsom, C 94-2307 CW (N.D. Cal.). Ms. Grunfeld has won
25   appellate decisions and district court orders and written and lectured on the rights of people with
26   disabilities under the Americans with Disabilities Act. Ms. Grunfeld has repeatedly been named by the
27   San Francisco Daily Journal as one of the top 100 lawyers in California, and serves as an elected
28

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 1   member of the Conference Executive Committee of the United States Court of Appeals for the Ninth

 2   Circuit.

 3                 9.    Co-counsel Kathryn Stebner has been practicing law for over 30 years. Ms. Stebner has

 4   been prosecuting elder abuse cases since 1987, and has practiced solely in this area for approximately

 5   twenty years. She has been involved with California Advocates for Nursing Home Reform (CANHR)

 6   since 1987. Since January 28, 2002, she has sat on the California Bar-sanctioned lawyer referral panel

 7   of CANHR for Elder and Dependent Abuse Civil Protection Act (EADCPA) cases. She has experience

 8   in class action matters and has been involved as counsel for the plaintiffs in the litigation of at least

 9   sixteen other class action cases, including nine class action cases brought for understaffing violations in

10   skilled nursing facilities. She also has experience representing plaintiffs in five class action cases

11   against owners of assisted living facilities alleging violations of the CLRA, UCL, and elder financial

12   abuse statute. She has lectured on numerous occasions regarding elder abuse cases, including several

13   lectures on class action law and the use of Business & Professions Code section 17200 and the CLRA in

14   Elder Abuse actions. Ms. Stebner has also testified on several occasions before the California

15   Assembly and Senate on bills pertaining to elder abuse and elder rights. She is a Past-President of the

16   San Francisco Trial Lawyers’ Association (SFTLA), has been on the Board of Governors of the

17   Consumer Attorneys of California (CAOC) for over ten years and is currently its Second Vice-

18   President, and she has tried in excess of 20 trials and arbitrations. Among numerous other publications,

19   she is the author of two chapters on Elder Abuse for the Continuing Education of the Bar (CEB), as well

20   as the book Elder Law Litigation Strategies: Leading Lawyers on Understanding the Changing

21   Landscape of Elder Law Litigation and Its Effect on Client Needs.

22                 10.   Co-counsel David T. Marks is the founding partner of the law firm of Marks Balette

23   Giessel & Young, P.L.L.C. He has been licensed to practice law in Texas since 1978. He also holds

24   licenses in Tennessee, Kentucky, North Carolina, Oklahoma, and Arkansas. His pro hac vice

25   application to appear in this action was granted by this Court on June 17, 2021. (Dkt. No. 266).

26   Mr. Marks has spent the bulk of his professional legal career handling civil and criminal nursing home

27   and elder abuse cases rooted in defendants’ failure to provide sufficient levels of staff to meet the basic

28   needs of residents. He has served as the Chairman of the nursing home litigation group for ATLA,

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 1   served as an expert witness on nursing home related issues before the United States Senate and the

 2   Texas House of Representatives, and authored over 30 articles and manuals on nursing home neglect

 3   and litigation. Mr. Marks has served as lead trial counsel in some of the largest verdicts in the United

 4   States arising out of the mistreatment and exploitation of elderly residents in long term care facilities

 5   and from chronic understaffing by corporate long-term operators. In 1997, he obtained a jury verdict

 6   and judgment against the largest nursing home operator in the United States, Beverly Enterprises, Inc.,

 7   for $83 million [resulting in a $13 million settlement]. In 2004, he prosecuted a case against Zurich

 8   Insurance Co. in the United States Bankruptcy Court on behalf of the Creditors Committee for a

 9   bankrupt nursing home chain. The court entered judgment against Zurich finding it was the equitable

10   partner of Senior Living Properties (debtor) and, therefore, liable for $528 million in debt [resulting a in

11   $56 million settlement]. In 2006, he obtained a jury verdict and judgment against Summit Care

12   Corporation in the amount of $160 million arising out of the mistreatment of an elderly man [resulting

13   in $ 13.15 million settlement]. More recently, in 2017, he prosecuted a class action case against Golden

14   Living (GGNSC Holdings, LLC) for understaffing and violations of the Arkansas Deceptive Trade

15   Practices Act in twelve facilities owned and operated by Golden Living in Arkansas. After extensive

16   depositions and trial proceedings, the case settled (one day prior to jury selection) for $71 million.

17                 11.   Further detail on the qualifications and experience of co-counsel and proposed class-

18   counsel Ms. Grunfeld, Ms. Stebner, and Mr. Marks are set forth in their separate Declarations filed in

19   support of this motion.

20                          THIS ACTION IS SUITABLE FOR CLASS CERTIFICATION

21                 12.   I believe the class of Plaintiffs in this case is far too numerous for joinder to be
22   practicable. In this case I consider a class action superior to any other method of adjudication because
23   the risk of substantial prejudice from separate actions is high, and because numerous common questions
24   of law and/or fact are presented. Without certification, Plaintiffs may only pursue numerous individual
25   lawsuits, creating undue hardship on the various Plaintiffs, Defendants, and the Court. Certification, I
26   believe, would avoid the prejudice present in separate actions by eliminating inconsistent decisions and
27   affording all class members relief through a single proceeding. Because of the efficiency of the class
28

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 1   action mechanism in this regard, I believe that class certification would be in the best interests of

 2   Plaintiffs, Defendants, and the Court.

 3                 13.   Plaintiffs’ counsel are committed to the full preparation of this case through the

 4   performance of any necessary and reasonable discovery, and are willing to take this case to trial should

 5   that become necessary. Our firms are committed to acting in the best interests of the putative classes,

 6   and understand our duties in that regard under applicable federal law.

 7       DOCUMENTARY EVIDENCE SUBMITTED IN SUPPORT OF CLASS CERTIFICATION

 8                 14.   Attached hereto as Exhibit 1 is a true and correct copy of a document entitled

 9   “Brookdale/Emeritus Merger Talking Points,” which was produced by Defendants in this action in

10   response to Plaintiffs’ requests for production of documents, Bates numbered BKD0205442 through

11   BKD0205443.

12                 15.   Attached hereto as Exhibit 2 is a true and correct copy of Defendants’ Supplemental

13   Responses to Plaintiff Helen Carlson’s Interrogatories, Set One, dated April 23, 2021, in which, in

14   response to Interrogatory No. 16, at pages 46 through 50, Brookdale identified ninety (90) assisted

15   living facilities in California that it has leased, owned, operated and/or managed over the course of the

16   Class Period.

17                 16.   Attached hereto as Exhibit 3 is a true and correct copy of Defendants’ Supplemental

18   Responses to Plaintiff Stacia Stiner’s Interrogatories, Set One, in which, in response to Interrogatory

19   No. 9, at pages 4-5, Defendants identified twenty-seven (27) of the California assisted living facilities

20   that it owned operated or managed during the class period thar were constructed for first occupancy

21   after January 26, 1993.

22                 17.   Attached as Exhibit 4 is a true and correct copy of an email message dated March 12,

23   2020, from Defendants’ former counsel, Jeffrey Kopczynski, to my co-counsel Mark T. Johnson,

24   announcing that any further inspections of Brookdale’s facilities that had been noticed by Plaintiffs’

25   counsel pursuant to Fed. R. Civ. 34 were cancelled due to the coronavirus pandemic and the state of

26   emergency that had been declared as a result of the pandemic. Prior to that time, Plaintiffs’ disability

27   access experts had inspected 52 of Defendants’ California facilities and had noticed others that were to

28   be scheduled by the parties.

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 1                 18.       Attached hereto as Exhibit 5 is a true and correct copy of a set of documents produced by

 2   Defendants in response to Plaintiffs’ requests for production of documents in this action, Bates

 3   numbered BKD1205388 through BKD1205414, that includes Brookdale’s 2020 Fleet Safety policy, at

 4   BKD1205390 through BKD1250398. The policy states, at p. 5, BKD1205394:

 5

 6                                                                                     .” At the same page, the policy

 7   states: “

 8                       ”

 9                 19.       Attached hereto as Exhibit 6 is a true and correct copy of Brookdale’s 2019 Fleet Safety

10   Policy. This document was produced by Defendants in response to Plaintiffs’ requests for production of

11   documents in this action with Bates numbers BKD2837452 through BKD2837458, and was marked as

12   Deposition Exhibit 236. At BKD2837455-56 this policy states:

13

14                                         At the same page, the policy states: “

15

16

17                                                                                             .”

18                 20.       Attached hereto as Exhibit 7 is a true and correct copy of Brookdale’s 2017 Fleet Safety

19   Policy, which was produced by Defendants in response to Plaintiffs’ requests for production of

20   documents in this action with Bates numbers BKD0002901 through BKD0002907 and was also marked

21   as Deposition Exhibit 156. At BKD0002904, that policy states:

22                                                                                                  ”

23                 21.       Attached hereto as Exhibit 8 is a true and correct copy of Brookdale’s 2020 Emergency

24   Manual, which was produced by Defendants in response to Plaintiffs’ requests for production of

25   documents with Bates numbers BKD1569794 through BKD1569928, and was marked as Deposition

26   Exhibit 227 in this action. At BKD1569811, the Emergency Manual states that

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 1                               At BKD1569880, the manual states that

 2                                                                    ”

 3                 22.   Attached hereto as Exhibit 9 is a true and correct copy of Brookdale’s Emergency and

 4   Disaster Plan for its Tracy facility, which was produced by Defendants in response to Plaintiffs’

 5   requests for production of documents in this action, Bates numbered BKD1867468 through

 6   BKD1867476.

 7                 23.   Attached hereto as Exhibit 10 is a true and correct copy of Brookdale’s Emergency and

 8   Disaster Plan for its Scotts Valley facility, which was produced by Defendants in response to Plaintiffs’

 9   requests for production of documents in this action, Bates numbered BKD2179317 through BKD

10   2179325.

11                 24.   Attached hereto as Exhibit 11 is a true and correct copy of a document that includes

12   Brookdale’s contract with Bus Finders, dated March 22, 2016,

13

14                                         ” and accompanying documents. This document was produced by

15   Defendants in this action in response to Plaintiffs’ requests for production of documents with Bates

16   numbers BKD1599043 through BKD1599061. The contract appears at BKD1599043 through

17   BKD1599057.

18                 25.   Attached hereto as Exhibit 12 is a true and correct copy of correspondence dated

19   March 3, 2017 from Guy Wallace to Shawn Cull, Brookdale’s former Executive Director for Brookdale

20   San Ramon and Chad C. White, Brookdale’s General Counsel, in which they were asked to make

21   reasonable accommodations for residents of Brookdale’s California facilities with disabilities by

22   increasing the staff at those facilities. This document was marked as Deposition Exhibit 224 in this

23   action. Defendants have never responded substantively to this correspondence or otherwise agreed to

24   make the accommodations requested.

25                 26.   Attached hereto as Exhibit 13 is a true and correct copy of Brookdale’s 696-page 2021

26   Policy and Procedure Manual. This document was produced by Defendants in this action in response to

27   Plaintiffs’ requests for production of documents with Bates numbers BKD2874761 through

28   BKD2875456, and was marked as Deposition Exhibit 128.

                                                              11
             DECL. OF GUY B. WALLACE IN SUPPORT OF MOTION FOR CLASS CERTIFICATION – CASE NO. 4:17-cv-03962-HSG (LB)
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 1                 27.   Attached hereto as Exhibit 14 is a true and correct copy of Brookdale’s Resident

 2   Evaluation Process Policy, CS-70-2, Bates numbered BKD2874857. This document was produced by

 3   Defendants in this action in response to Plaintiffs’ requests for production of documents, and was

 4   marked as Deposition Exhibit 102.

 5                 28.   Attached hereto as Exhibit 15 is a true and correct copy of Brookdale’s Service Plan

 6   Process Policy, CS-70-3, Bates numbered BKD2874858. This document was produced by Defendants

 7   in response to Plaintiffs’ requests for production of documents in this action, and was marked as

 8   Deposition Exhibit 103.

 9                 29.   Attached hereto as Exhibit 16 is a true and correct copy of Brookdale’s Quick Reference

10   Guide entitled “Using the Personal Service System (PSS) Online,” Bates numbered BKD0005118

11   through BKD0005131. This document was produced by Defendants in response to Plaintiffs’ requests

12   for production of documents in this action and was marked as Deposition Exhibit 282.

13                 30.   Attached hereto as Exhibit 17 is a true and correct copy of Brookdale’s Personal Service

14   Assessment and Personal Service Plan Interpretive Guidelines which was produced by Defendants in in

15   this action in response to Plaintiffs’ requests for production of documents with Bates Numbers

16   BKD0005133 through BKD0005158 and was marked as Deposition Exhibit 28.

17                 31.   Attached hereto as Exhibit 18 is a true and correct copy of an email dated August 25,

18   2016, from Mary Sue Patchett, Brookdale’s Executive Vice President for Community and Field

19   Operations, to Brookdale’s community mangers at all levels, with the subject line “

20                             ” This document was produced by Defendants in response to Plaintiffs’ requests

21   for production of documents in this action with Bates numbers BKD1723416 through BKD1723417.

22   At BKD1723417, Ms. Patchett describes                                                                            .” At

23   BKD1723416,                                                                  she states: “

24

25             ”

26                 32.   Attached hereto as Exhibit 19 is a true and correct copy of an email dated October 19,

27   2016 from Mary Sue Patchett, Executive Vice President of Community and Field Operations, with the

28   subject line “                                                     .” This document identifies

                                                              12
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 1

 2                            . It was produced by Defendants in response to Plaintiffs’ requests for production of

 3   documents in this action with Bates numbers BKD1762135 through BKD1762136.

 4                 33.     Attached hereto as Exhibit 20 is a true and correct copy of a Brookdale Slide

 5   Presentation entitled “Welcome to Service Alignment Overview,” identified as                                           ,

 6   which, at BKD2522658, describes

 7                  ” This document was produced by Defendants in response to Plaintiffs’ requests for

 8   production of documents in this action with Bates numbers BKD2522657 through BKD 2522688 and

 9   was marked as Deposition Exhibit 164.

10                 34.     Attached hereto as Exhibit 21 is a true and correct copy of a Brookdale slide presentation

11   entitled “Welcome to Service Alignment Assignment Plans,” identified as

12                       . This document was produced by Defendants in response to Plaintiffs’ requests for

13   production of documents in this action with Bates numbers BKD2518713 through BKD2518734.

14                 35.     Attached hereto as Exhibit 22 is a true and correct copy of a Brookdale slide presentation

15   entitled “Welcome to Service Alignment Labor Reports and Benchmarks,” identified as

16                                                . This document was produced by Defendants in response to

17   Plaintiffs’ requests for production of documents in this action with Bates numbers BKD2522711

18   through BKD2522731, and was marked as Deposition Exhibit 166. At Bates No. 2522712, this

19   document states: “

20                                                                                                               At Bates

21   No. BKD2522727, this document states: “

22

23                             .”

24                 36.     Attached hereto as Exhibit 23 is a true and correct copy of a Brookdale slide presentation

25   entitled “Service Alignment / Service Alignment Overview.” This document was produced by

26   Defendants in response to Plaintiffs’ requests for production of documents in this action with Bates

27   numbers BKD1840440 through BKD1840466, and was marked as Deposition Exhibit 31. At

28   BKD1840442 this document states: “

                                                              13
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 1

 2                                     ” At BKD1840445, the document states: “

 3

 4

 5                                                                    ”

 6                 37.   Attached hereto as Exhibit 24 is a true and correct copy of a Brookdale slide presentation

 7   entitled “Service Alignment: Make Special Things Happen” by Bill Cus, Divisional Director of Service

 8   Alignment. This document was produced by Defendants in response to Plaintiffs’ requests for

 9   production of documents in this action with Bates numbers BKD1918693 through BKD1918735. At

10   BKD1918711 this document states:

11                                                                              .” At BKD1918714, in describing

12                                                             , it states that the report “

13

14                                              ” On the same page, the document states that

15                                                                                                      and

16

17                 38.   Attached hereto as Exhibit 25 is a true and correct copy of a Brookdale training

18   presentation entitled “CCRC Expense Management for Community Directors,” dated October 2018,

19   which was produced by Defendants in response to Plaintiffs’ requests for production of documents in

20   this action with Bates numbers BKD2517624 through BKD2517666.

21                 39.   Attached hereto as Exhibit 26 is a true and correct copy of a Brookdale slide presentation

22   for a Service Alignment meeting in Nashville dated June 5, 2018. This document was produced by

23   Defendants in response to Plaintiffs’ requests for production of documents in this action with Bates

24   numbers BKD2507632 through 2507651, and was marked as Deposition Exhibit 131.

25                 40.   Attached hereto as Exhibit 27 is a true and correct copy of a Brookdale slide presentation

26   entitled “Service Alignment Process Improvement Plan – Clinical Q2 2017” which was produced by

27   Defendants in response to Plaintiffs’ requests for production of documents in this action with Bates

28   numbers BKD1890850 through BKD1890873.

                                                              14
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 1                 41.   Attached hereto as Exhibit 28 is a true and correct copy of a document produced by

 2   Brookdale in response to Plaintiffs’ requests for production of documents in this action entitled:

 3   “Service Alignment Benchmarks: Norms and Customization Descriptions.” This document was

 4   produced with Bates numbers BKD2884686 through 2884690 and was marked as Deposition

 5   Exhibit 283. At BKD2884686, the document states that it “

 6

 7

 8                 42.   Attached hereto as Exhibit 29 is a true and correct copy of a document produced by

 9   Defendants in this case in response to Plaintiffs’ requests for production of documents entitled:

10   “Service Alignment Benchmark Setup and Community Customization Quick Reference Guide,” Bates

11   numbered BKD1797431 through BKD1797437 and marked as Deposition Exhibit 132.
12                 43.   Attached hereto as Exhibit 30 is a true and correct copy of a document entitled “Request
13   for Advanced Customization: Exception to the Service Alignment (SA) Benchmark,” which was
14   produced by Defendants in response to Plaintiffs’ requests for production of documents in this action
15   with Bates number BKD2085462, and was marked as Deposition Exhibit 317. This document states
16

17                                                                                      .
18                 44.   Attached hereto as Exhibit 31 is a true and correct copy of an email dated August 23,
19   2018, from Kevin Bowman to his
20

21                                   ” This document was produced by Defendants in response to Plaintiffs’
22   requests for production of documents in this action with Bates number BKD2377314, and was marked
23   as Deposition Exhibit J.
24                 45.   Attached hereto as Exhibit 32 is a true and correct copy of a Brookdale email thread that
25   includes an email dated June 19, 2018 from Kevin Bowman to his District Directors of Operation in
26   which he states, at BKD1723871:
27                                                              This document was produced by Defendants in
28

                                                              15
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 1   response to Plaintiffs’ requests for production of documents in this action with Bates numbers

 2   BKD1723870 through 1723872, and was marked as Deposition Exhibit 284.

 3                 46.     Attached hereto as Exhibit 33 is a true and correct copy of an email calendar invite dated

 4   June 15, 2015, from Brookdale employee Christopher Finn, Divisional Director of Service Alignment,

 5   stating that

 6

 7                          This document was produced by Defendants in response to Plaintiffs’ requests for

 8   production of documents with Bates numbers BKD1847776 through BKD1847777 and was marked as

 9   Deposition Exhibit 255.

10                 47.     Attached hereto as Exhibit 34 is a true and correct copy of an email dated September 11,

11   2018, from Jeffrey Toomer, a Brookdale District Director of Operations, in which he states, at

12   BKD2069280:

13

14

15                                         ” This document was produced by Defendants in response to Plaintiffs’

16   requests for production of documents in this action with Bates numbers BKD2069280 through

17   BKD2069281, and was marked as Deposition Exhibit 124.

18                 48.     Attached as Exhibit 35 is an email from Kevin Bowman dated November 1, 2016, in

19   which he states

20

21

22                       ” This document was produced by Defendants in response to Plaintiffs’ requests for

23   production of documents in this action with Bates number BKD1625738, and was marked as

24   Deposition Exhibit 136.

25                 49.     Attached hereto as Exhibit 36 is a true and correct copy of an email dated February 12,

26   2018 from Kevin Bowman stating, at BKD1829289, that

27                                                                                                            ” This

28   document was produced by Defendants in response to Plaintiffs’ requests for production of documents

                                                              16
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 1   in this action with Bates numbers BKD1829289 through BKD1829290 and was marked as Deposition

 2   Exhibit 285.

 3                 50.   Attached hereto as Exhibit 37 is a true and correct copy of an email thread that includes

 4   an email dated September 3, 2015 from Christopher M. Belford, former President of Brookdale’s West

 5   Division, with the subject line                               ” Mr. Belford notes an

 6                                                          at BKD2094927, and states at BKD2094928:

 7

 8

 9            ” This document was produced by Defendants in response to Plaintiffs’ requests for production of

10   documents in this action with Bates numbers BKD2094926 through 2094928 and was marked as

11   Deposition Exhibit 257.

12                 51.   Attached hereto as Exhibit 38 is a true and correct copy of a Brookdale email thread that

13   includes an email dated March 2, 2016 from Rhonda Dolcater, the Divisional Director of Service

14   Alignment for Brookdale’s West Division, to management staff at Brookdale’s South Tarzana facility.

15   In her email, which has the subject line “                                              ,” Ms. Dolcater states, at

16   BKD1841083:

17

18

19                                                                                                                        ”

20   This document was produced by Defendants in response to Plaintiffs’ requests for production of

21   documents in this action with Bates numbers BKD1841083 through BKD1841084.

22                 52.   Attached hereto as Exhibit 39 is a true and correct copy of a Brookdale email thread that

23   includes an email dated March 23, 2016 from Rhonda Dolcater to the Executive Director of

24   Brookdale’s Scotts Valley facility in which Ms. Dolcater states at BKD1725845: “

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26

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28                                                                                                                    ”

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 1   This document was produced by Defendants in response to Plaintiffs’ requests for production of

 2   documents in this action with Bates numbers BKD1725845 through BKD1725846 and was marked as

 3   Deposition Exhibit 261.

 4                 53.   Attached hereto as Exhibit 40 is a true and correct copy of a Brookdale email dated

 5   August 2, 2016 from Brookdale employee Frankie Knighton to Sheila Garner, with the subject line

 6                                             .” Under the heading                                                   ,” the

 7   email states, at BKD2642652: “

 8                                                ” This document was produced by Defendants in response to

 9   Plaintiffs’ requests for production of documents in this action with Bates numbers BKD2642652

10   through BKD2642659 and was marked as Deposition Exhibit 262.

11                 54.   Attached hereto as Exhibit 41 is a true and correct copy of a Brookdale email dated

12   January 19, 2017, from Steven G. Flynt, the Division President for the West Division at the time, to

13   Sheila Garner and other Brookdale regional managers. The email is a

14                                     and includes the statement: “

15

16                                                                                              .” This document was

17   produced by Defendants in response to Plaintiffs’ requests for production of documents in this action

18   Bates number BKD2228040.

19                 55.   Attached hereto as Exhibit 42 is a true and correct copy of a Brookdale email thread that

20   includes an email dated February 16, 2017 from Sheila Garner, Senior Regional Vice President of

21   Operations for Brookdale’s West Division, to several Brookdale Executive Directors stating, at

22   BKD2092668:

23

24                                                                 ” This document was produced by Defendants in

25   response to Plaintiffs’ requests for production of documents in this action with Bates numbers

26   BKD2092668 through BKD2092670, and was marked as Deposition Exhibit 269.

27                 56.   Attached hereto as Exhibit 43 is a true and correct copy of a Brookdale presentation

28   entitled “Welcome to Service Alignment Clinical Reports,” identified as

                                                              18
             DECL. OF GUY B. WALLACE IN SUPPORT OF MOTION FOR CLASS CERTIFICATION – CASE NO. 4:17-cv-03962-HSG (LB)
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 1                                                , which was produced by Defendants in response to Plaintiffs’

 2   requests for production of documents in this action with Bates numbers BKD2522732 through

 3   BKD2522746, and was marked as Deposition Exhibit 165.

 4                 57.   Attached hereto as Exhibit 44 is a true and correct copy of a Brookdale slide presentation

 5   entitled “Service Alignment Dashboards, Reports and Results,” that identifies

 6

 7

 8                                                                                     This document was produced by

 9   Defendants in response to Plaintiffs’ requests for production of documents in this action with Bates

10   numbers BKD2844883 through BKD2844888.

11                 58.   Attached hereto as Exhibit 45 is a true and correct copy of a Brookdale Slide

12   Presentation entitled “Clinical Reports Overview,” which was produced by Defendants in response to

13   Plaintiffs’ requests for production of documents in this action with Bates numbers BKD2511086

14   through BKD2511101, and was marked as Deposition Exhibit 167.

15                 59.   Attached hereto as Exhibit 46 is a true and correct copy of a Brookdale email thread that

16   includes an email dated March 3, 2017 from Sheila Garner, as Senior Regional Vice President of

17   Operations for the West Division in which she states, at BKD1840916:

18

19

20                                                                                                              This

21   document was produced by Defendants in response to Plaintiffs’ requests for production of documents

22   with Bates numbers BKD1840915 through 1840917 and was marked as Deposition Exhibit 270.

23                 60.   Attached hereto as Exhibit 47 is a true and correct copy of Brookdale’s May 17, 2017

24   “Corrective Action” for Sharyl Ronan, who was the Regional Vice President of Operations for Region

25   02 of Brookdale’s West Division. It describes

26

27                                                                                             This document was

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                                                              19
             DECL. OF GUY B. WALLACE IN SUPPORT OF MOTION FOR CLASS CERTIFICATION – CASE NO. 4:17-cv-03962-HSG (LB)
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 1   produced by Defendants in response to Plaintiffs’ requests for production of documents in this action

 2   with Bates numbers BKD2608663 through BKD2608665 and was marked as Deposition Exhibit 272.

 3                 61.       Attached hereto as Exhibit 48 is a true and correct copy of Brookdale’s May 26, 2017

 4   “Corrective Action” for Craig Clark, who held the position of Executive Director III for Brookdale’s

 5   San Juan Capistrano facility. At BKD1898369, it identifies

 6

 7

 8                       This document was produced by Defendants in response to Plaintiffs’ requests for production

 9   of documents in this action with Bates numbers BKD1898368 through BKD1898369, and was marked

10   as Deposition Exhibit 273.

11                 62.       Attached hereto as Exhibit 49 is a true and correct copy of a document produced by

12   Defendants in response to Plaintiffs’ requests for production of documents in this action having Bates

13   numbers BKD2025104 through BKD2025109. It combines a document entitled “Supervisor’s Guide to

14   Completing an Action Plan” and an Action Plan dated April 13, 2016, for Kelly Grounds, a Brookdale

15   District of Operations at the time. At BKD2025106, the Action Plan identifies                                    as

16                                                   and identifies a

17                                                                                                 This document was

18   marked as Deposition Exhibit 275 in this action.

19         DEPOSITION TESTIMONY SUBMITTED IN SUPPORT OF CLASS CERTIFICATION

20                 63.       Attached hereto as Exhibit 50 is a true and correct copy of the complete transcript of the
21   June 23, 2021 deposition of Kevin Bowman, the President of Brookdale’s West Division. Mr. Bowman
22   testified in his capacity as Defendants’ Rule 30(b)(6) designee on topic 2 of Plaintiffs’ Notice of
23   Deposition Pursuant to Rule 30(b)(6), which included Brookdale’s policies, procedures and practices, if
24   any, for ensuring that its California facilities are in compliance with the requirements of Title III of the
25   Americans with disabilities Act of 1990 and its implementing regulations and California’s Unruh Civil
26   Rights Act, Cal. Civ. Code §§ 51 et seq. This topic included, but was not limited to, actions taken to
27   achieve compliance with those disability access provisions, the dates on which its facilities were
28   constructed or altered, complaints and responses to complaints about the inaccessibility of its facilities,

                                                               20
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 1   efforts to identify and/or remove access barriers, and efforts to make reasonable accommodations for

 2   residents with disabilities, including by increasing caregiving staffing.

 3                 64.   Attached hereto as Exhibit 51 is a true and correct copy of the transcript of the July 13,

 4   2021 deposition of Kevin Bowman, testifying in his capacity as a Rule 30(b)(6) designee for

 5   Defendants on topic 5 of Plaintiffs Rule 30(b)(6) deposition notice, which sought testimony on

 6   Brookdale’s policies, procedures and/or practices for assessing the needs for and delivering personal

 7   services to residents. The topic included, but was not limited to, Brookdale’s policies, procedures and

 8   practices for evaluating the needs of residents; developing personal service plans; setting, monitoring

 9   and adjusting staffing levels; establishing, monitoring and enforcing labor benchmarks; and the

10   calculation and use of estimated task times for providing personal services.

11                 65.   Attached hereto as Exhibit 52 is a true and correct copy of the transcript of the July 14,

12   2021 deposition of Kevin Bowman, testifying in a second session in his capacity as a Rule 30(b)(6)

13   designee for Defendants on topic 5 of Plaintiffs’ Rule 30(b)(6) deposition notice.

14                 66.   Attached hereto as Exhibit 53 are true and correct copies of excerpts of the transcript of

15   the deposition taken in this case on April 21, 2021 of Rhonda Dolcater, the former Division Director of

16   Service Alignment for Brookdale’s West Division.

17                 67.   Attached hereto as Exhibit 54 is a true and correct copy of excerpts of the transcript of

18   the deposition taken on March 17, 2021 of Theresa Ward, the Executive Director of Brookdale Sunwest

19   and former Executive Director of Brookdale’s Rancho Mirage, Palm Springs, Cherry Hills and Grand

20   Terrace facilities.

21                 68.   Attached hereto as Exhibit 55 is a true and correct copy of excerpts of the transcript of

22   the deposition taken on March 24, 2021 of Marie Harris, Executive Director of Brookdale’s San Jose

23   facility and former Executive Director of its Scott’s Valley facility.

24                 69.   Attached hereto as Exhibit 56 is a true and correct copy of excerpts of the transcript of

25   the deposition taken on March 18, 2021, of Kimia Ataeian, Executive Director of Brookdale’s

26   Brookhurst facility.

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             DECL. OF GUY B. WALLACE IN SUPPORT OF MOTION FOR CLASS CERTIFICATION – CASE NO. 4:17-cv-03962-HSG (LB)
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 1                 70.    Attached hereto as Exhibit 57 is a true and correct copy of excerpts of the transcript of

 2   the deposition taken on April 16, 2021 of Ferdinand Augustus Buot Jr., former Executive Director of

 3   Brookdale’s Fountaingrove facility.

 4                 71.    Attached hereto as Exhibit 58 is a true and correct copy of excerpts of the transcript of

 5   the deposition taken on March 25, 2021 of Anna Reddy, Executive Director of Brookdale’s San Ramon

 6   facility.

 7                 I declare under penalty of perjury under the laws of the United States that the foregoing is true

 8    and correct.

 9                 Executed on August 18, 2021 in Emeryville, California.

10

11                                                                 /s/ Guy B. Wallace
                                                                   Guy B. Wallace
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             DECL. OF GUY B. WALLACE IN SUPPORT OF MOTION FOR CLASS CERTIFICATION – CASE NO. 4:17-cv-03962-HSG (LB)
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 1                                              CERTIFICATE OF SERVICE

 2                 I hereby certify that I electronically filed the foregoing document with the Clerk of the Court for

 3   the United States District Court, Northern District of California, by using the Court’s CM/ECF system

 4   on August 18, 2021.

 5                 I certify that all participants in the case are registered CM/ECF users and that service will be

 6   accomplished by the Court’s CM/ECF system.

 7

 8   Dated: August 18, 2021                                        /s/ Guy B. Wallace
                                                                   Guy B. Wallace
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             DECL. OF GUY B. WALLACE IN SUPPORT OF MOTION FOR CLASS CERTIFICATION – CASE NO. 4:17-cv-03962-HSG (LB)
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               Exhibit 1
          Filed Conditionally Under Seal
Case 4:17-cv-03962-HSG Document 278-1 Filed 08/18/21 Page 26 of 148




               Exhibit 2
          Case 4:17-cv-03962-HSG Document 278-1 Filed 08/18/21 Page 27 of 148



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18   BROOKDALE SENIOR LIVING COMMUNITIES, INC.

19
                                       UNITED STATES DISTRICT COURT
20
                                 NORTHERN DISTRICT OF CALIFORNIA
21
     STACIA STINER, et al.,                            Case No. 4:17-CV-03962-HSG
22
                  Plaintiffs,                          DEFENDANTS’ SUPPLEMENTAL
23       v.                                            RESPONSES TO PLAINTIFF HELEN
                                                       CARLSON’S INTERROGATORIES, SET
     BROOKDALE SENIOR LIVING, INC.;
24                                                     ONE
     BROOKDALE SENIOR LIVING
     COMMUNITIES, INC.; and DOES 1 through 100,
25
                  Defendants.
26

27

28
       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
                              SET ONE / CASE NO. 4:17-CV-03962-HSG
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 1          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendants Brookdale

 2   Senior Living, Inc. and Brookdale Senior Living Communities, Inc. (“Brookdale”), by and through their

 3   attorneys, hereby submit their Supplemental Responses and Objections (“Responses”) to Plaintiff Helen

 4   Carlson’s Interrogatories Propounded on Brookdale, Set One (“Interrogatories”).

 5                                        PRELIMINARY STATEMENT
 6          Brookdale makes these Responses to the Interrogatories expressly reserving and without waiver

 7   of: (a) all rights to object on the basis of competency, relevance, materiality, confidentiality,

 8   authenticity, privilege, or any other proper grounds to the use of any of Brookdale’s responses or

 9   objections to the Interrogatories, any information contained therein, or any documents produced in
10   response to the Interrogatories, as evidence, in whole or in part, in any subsequent proceeding, action, or

11   matter, or in any trial in this or any other action; (b) all rights to object on any ground and at any time to

12   a demand or request for further response to the Interrogatories, other discovery requests, or proceedings

13   involving or related to the subject matter of the Interrogatories, information, or documents Brookdale

14   has provided or may provide in response to the Interrogatories; and (c) the right at any time to review,

15   revise, correct, add to, supplement, amend, or clarify any of the responses propounded herein.

16          Brookdale has not yet completed its discovery and investigation of the facts pertaining to the

17   above-captioned action (the “Action”), review of its own documents, or trial preparation. Brookdale

18   bases its responses and objections on information now known to Brookdale. Brookdale reserves the

19   right to rely on any facts or other evidence that may develop or come to its attention at a later date.
20          These Responses are subject to amendment and supplementation as Brookdale acquires

21   additional information and completes its review and analysis. Brookdale’s Responses to the

22   Interrogatories were prepared in consultation with its attorneys and may not exactly match the words or

23   phrases that might be used by individual employees in the course of this litigation to describe events,

24   policies, or matters discussed herein.

25                               OBJECTIONS TO ALL INTERROGATORIES
26          1.      Brookdale objects to the Interrogatories as overly broad, unduly burdensome, and not

27   proportionate to the needs of this case to the extent that they seek documents and information regarding

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1   each and every resident and/or from each and every community that Brookdale has operated in

 2   California. Brookdale has operated approximately 90 communities in California over the course of just

 3   the past six years, and producing all information related to these Interrogatories for all communities,

 4   many of which are no longer affiliated with Brookdale, would impose an unreasonable burden.

 5          2.      Brookdale objects to the Interrogatories to the extent they seek work product, trial

 6   preparation materials, identification of documents prepared after the commencement of this litigation,

 7   communications protected from disclosure by the attorney-client privilege, or documents protected from

 8   disclosure by any applicable law, rule, privilege or immunity. Nothing contained in these Responses is

 9   intended to or may be construed as a waiver of the attorney-client privilege, the work product doctrine,
10   or any other applicable law, rule, or privilege.

11          3.      Brookdale objects to the Interrogatories, and to the definitions and instructions

12   accompanying the Interrogatories, to the extent they seek or purport to impose definitions, instructions,

13   or obligations outside of those imposed by Rules 26 and 33 of the Federal Rules of Civil Procedure, the

14   Local Civil Rules of this Court, or the Orders of this Court. Brookdale will respond to the

15   Interrogatories in accordance with its obligations as set forth in those Rules and/or Orders.

16          4.      Brookdale objects to the Interrogatories to the extent that they seek trade secrets and/or

17   confidential and/or proprietary business information.

18          5.      Brookdale objects to the Interrogatories to the extent that they seek information that is

19   publicly available or otherwise accessible to Plaintiffs.
20          6.      Brookdale objects to the Interrogatories to the extent that they fail to identify the

21   information to be produced with reasonable particularity. Brookdale responds to each of the individual

22   Interrogatories as it understands and interprets each Interrogatory. Brookdale reserves the right to

23   amend or supplement these Responses in the event that Plaintiffs later assert a different interpretation

24   that is accepted by Brookdale.

25          7.      Brookdale objects to these Interrogatories to the extent they exceed the number of

26   interrogatories permitted by the Federal Rules of Civil Procedure, including the instructions and

27   subparts, without leave of Court.

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1          8.      Brookdale objects to the definition of the terms “ANY” and “ALL” as overbroad, unduly

 2   burdensome, vague, indefinite, ambiguous, and not proportionate to the legitimate discovery needs of

 3   the case. Plaintiffs’ definition of these terms requires a simultaneously expansive and restrictive reading

 4   of both. Brookdale construes “any” and “all” as they are commonly understood in ordinary English.

 5          9.      Brookdale objects to Plaintiffs’ definition of “BROOKDALE” as overbroad, unduly

 6   burdensome, oppressive, or harassing to the extent it encompasses any entity other than Brookdale.

 7   Brookdale does not have possession, custody, or control over materials that other entities or persons may

 8   have. Brookdale similarly objects to Plaintiffs’ instruction that Brookdale is required to produce

 9   documents in the possession, custody, or control of other entities or persons, including Brookdale’s
10   employees in their personal capacity. That instruction is beyond the scope of the duty provided by the

11   Federal Rules of Civil Procedure. In these Responses, Brookdale construes “BROOKDALE” to refer

12   only to Brookdale, and Brookdale’s officers and employees serving in their capacity as agents of

13   Brookdale, and Brookdale will only produce documents or provide information that is within its

14   possession, custody, or control.

15          10.     Brookdale objects to Plaintiffs’ definition of “DOCUMENT” as overly broad, unduly

16   burdensome, oppressive, or harassing to the extent that it improperly expands the scope of the term

17   defined in Fed. R. Civ. P. 34(a)(1)(A) and seeks documents not in Brookdale’s possession, custody, or

18   control. Brookdale further objects to Plaintiffs’ definition of “DOCUMENT” as overly broad and

19   unduly burdensome to the extent that it seeks to impose burdens or obligations beyond those imposed by
20   the Federal Rules of Civil Procedure or certain case management orders and other orders applicable to

21   this Action. In these Responses, Brookdale construes the term “Documents” to refer only to documents

22   that fall under the definition in Fed. R. Civ. P. 34(a)(1)(A), and that are currently in Brookdale’s

23   possession, custody, or control. Brookdale objects to Plaintiffs’ definition to the extent that by “ANY

24   work papers, desk files, electronically-stored documents, electronic communications (such as e-mail),

25   stored in computers or otherwise, whether or not ever printed or displayed,” Plaintiffs would require that

26   Brookdale search all communications platforms and databases for documents in response to each

27   Interrogatory. To the extent Brookdale agrees to produce documents or information, it will conduct a

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1   reasonable search for documents or information in those locations that are reasonably likely to have

 2   relevant, non-duplicative, and non-cumulative information.

 3          11.     Brookdale objects to Plaintiffs’ definition of “RESIDENCY AGREEMENT” as

 4   overbroad, unduly burdensome, oppressive, or harassing to the extent it encompasses any entity other

 5   than Brookdale. Brookdale does not have possession, custody, or control over materials that other

 6   entities or persons may have. Brookdale similarly objects to Plaintiffs’ instruction that Brookdale is

 7   required to produce documents in the possession, custody, or control of other entities or persons,

 8   including Brookdale’s employees in their personal capacity. That instruction is beyond the scope of the

 9   duty provided by the Federal Rules of Civil Procedure. In these Responses, Brookdale construes
10   “RESIDENCY AGREEMENT” to refer only to agreements for residency between Brookdale and

11   Resident, as Brookdale interprets that term, or their representative, and Brookdale will only produce

12   documents and information that are within its possession, custody, or control.

13          12.     Brookdale objects to Plaintiffs’ definition of “YOU, YOUR, YOURSELF,” and

14   “DEFENDANT” as overly broad, unduly burdensome, oppressive, or harassing to the extent it

15   encompasses any entity other than Brookdale. Brookdale does not have possession, custody, or control

16   over other entities or persons or any materials they may have. Brookdale similarly objects to Plaintiffs’

17   instruction that Brookdale is required to produce documents in the possession, custody, or control of

18   other entities or persons, including Brookdale’s employees in their personal capacity. All of these

19   definitions attempt to create a duty and burden on Brookdale beyond the scope of those provided in the
20   Federal Rules of Civil Procedure, the local rules of the Northern District of California, or standing

21   orders, case management orders, or other orders entered by the Court, and are therefore improper. In

22   these Responses, Brookdale construes “YOU, YOUR, YOURSELF,” and “DEFENDANT” to refer only

23   to Brookdale itself and Brookdale’s officers and employees serving in their capacity as agents of

24   Brookdale, and will only produce documents or information that are within its possession, custody, or

25   control.

26          13.     Each and every answer is made subject to the foregoing general objections and to any

27   protective order entered by the Court, regardless of whether a general or specific objection is stated in

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1   the answer to the particular Interrogatory, and Brookdale does not waive any general objections not

 2   referred to in any particular answer.

 3          14.     Brookdale reserves the right to supplement its Responses with information or documents

 4   that come to its attention or become available after service of these Responses and to use such

 5   information at any hearing or proceeding, including the trial of this or any other action.

 6                          RESPONSES TO PLAINTIFFS’ INTERROGATORIES
 7   INTERROGATORY NO. 1:

 8          For each FACILITY, please identify by name, Employee Identification Number, position, and

 9   tenure (beginning and ending date) the individuals who served in the positions of Executive Director (I,
10   II, III or Bench), Director, Health and Wellness, or Business Office Manager at that FACILITY during

11   the CLASS PERIOD. For the purpose of this Interrogatory, Employee Identification Number means the

12   identification number of the employee used in YOUR Kronos payroll system.

13   RESPONSE TO NO. 1:

14          Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those

15   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory as

16   unduly burdensome and not proportional to the needs of this case to the extent that it would require

17   Brookdale to sort through an indefinite number of records to identify each individual who served in each

18   of the positions designated in this Interrogatory, at each and every community at issue, many of which

19   are no longer affiliated with Brookdale, over the course of the class period. Brookdale further objects to
20   this Interrogatory because Plaintiffs have exceeded the number of Interrogatories permitted by Fed. R.

21   Civ. P. 33(a)(1) without leave of Court. In Plaintiff Stacia Stiner’s Interrogatories Propounded On

22   Defendants, Set One, Plaintiffs served 11 interrogatories, not including discrete subparts. In Plaintiff

23   Stacia Stiner’s Interrogatories Propounded On Defendants, Set Two, Plaintiffs served 14 interrogatories,

24   not including discrete subparts, for a total of 25 interrogatories, not including discrete subparts.

25          Subject to and without waiving the foregoing objections and limitations, Brookdale responds as

26   follows:

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     DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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     DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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     INTERROGATORY NO. 3:
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            Please describe in detail the formula, system or methodology used by YOU to determine the
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     hours, numbers or levels of caregiver staffing needed to provide PROMISED SERVICES to
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     RESIDENTS of the FACILITIES. As used herein, PROMISED SERVICES means the services that are
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     identified in RESIDENTS’ Service Plans based on YOUR initial and periodic assessments of each
20
     RESIDENT’S needs.
21
     RESPONSE TO NO. 3:
22
            Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those
23
     objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory
24
     that the terms “formula,” “system,” “methodology,” and “Service Plans” are vague, ambiguous, and
25
     undefined. Brookdale further objects to this Interrogatory that the term “PROMISED SERVICES” is
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     overly broad, vague, unduly burdensome, and not proportional to the needs of this case, including to the
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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1   extent it incorporates the vague, ambiguous, and undefined term “Service Plans.” Brookdale further

 2   objects to this Interrogatory as unduly burdensome and not proportional to the needs of this case to the

 3   extent that it seeks a response as to each Promised Service, in each Service Plan, for each Resident, at

 4   each and every community at issue, many of which are no longer affiliated with Brookdale, over the

 5   course of the class period, as well as to the extent that, in order to provide a complete response to this

 6   Interrogatory as written, Brookdale would have to consult personnel at each of its communities to which

 7   this Interrogatory applies. Brookdale further objects to this Interrogatory on the grounds that it purports

 8   to require Brookdale to disclose information pertaining to the means or processes by which Brookdale

 9   utilizes information for business planning purposes. The underlying process that Brookdale utilizes with
10   respect to operations data collected from its communities is highly proprietary and fundamental to its

11   internal business operations, business model, and projected future performance. Disclosure of

12   information pertaining to the unique method or process by which Brookdale makes its business

13   decisions will unduly prejudice Brookdale because it constitutes a fundamental component of

14   Brookdale’s competitive advantage. Brookdale further objects to this Interrogatory on the basis of

15   attorney-client privilege, work product doctrine, self-critical analysis privilege, and the protections

16   accorded subsequent remedial measures, or any other applicable privilege or protection. Brookdale

17   further objects to this Interrogatory because Plaintiffs have exceeded the number of Interrogatories

18   permitted by Fed. R. Civ. P. 33(a)(1) without leave of Court. In Plaintiff Stacia Stiner’s Interrogatories

19   Propounded On Defendants, Set One, Plaintiffs served 11 interrogatories, not including discrete
20   subparts. In Plaintiff Stacia Stiner’s Interrogatories Propounded On Defendants, Set Two, Plaintiffs

21   served 14 interrogatories, not including discrete subparts, for a total of 25 interrogatories, not including

22   discrete subparts.

23          Subject to and without waiving the foregoing objections and limitations, Brookdale responds as

24   follows: The personnel at each of Brookdale’s individual communities determine the hours, numbers

25   and levels of caregiver staffing based on their individual assessments and determinations relative to the

26   individual needs of the particular residents at the community at any applicable period of time. (See, e.g.,

27   Transcript of March 17, 2021, Deposition of Theresa Ward at 96:17-25 (“At [the] Sunwest” community,

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1   “what determines what we’re doing with our staffing has to do with what those needs of the residents are

 2   . . . and the frequency, what’s going on at any particular time and the frequency of what those services

 3   are.”); Transcript of March 18, 2021, Deposition of Kimia Ataeian at 175:10-176:8 (“I staff based on my

 4   residents’ need. . . . So based on the regulation there is enough staffing we need to have, I make sure

 5   those regulations are met. One other thing that I do when it comes to specifically about care, I make

 6   sure myself and Ninad [the Brookhurst Health and Wellness Director] oversee that. I will make sure

 7   that if there’s new residents, our caregivers are getting to them, you know, and what needs to be done if

 8   it’s getting done.”); Transcript of March 24, 2021, Deposition of Marie Harris at 177:19-178:8 (“It’s

 9   always about the resident’s need, making sure we can safely provide care for that resident” at the San
10   Jose community, in response to the question, “what considerations are involved as you determine

11   staffing for a shift?”, and agreeing that she “staff[s] according to provide the best care for each

12   resident.”); Transcript of March 25, 2021, Deposition of Anna Reddy at 246:13-25 (“My nurse and I” at

13   the San Ramon community “sit down and have a conversation about what our resident need [sic] and

14   what our staffing needs are and then what the schedule is gonna look like.”).)

15   INTERROGATORY NO. 4:

16          Please IDENTIFY ALL written policies, procedures, guidelines, or other DOCUMENTS that

17   govern or apply to the process of determining the hours, numbers or levels of caregiver staffing needed

18   to provide PROMISED SERVICES to RESIDENTS of the FACILITIES. As used herein, PROMISED

19   SERVICES means the services that are identified in RESIDENTS’ Service Plans based on YOUR initial
20   and periodic assessments of each RESIDENT’S needs.

21   RESPONSE TO NO. 4:

22          Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those

23   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory

24   that the term “Service Plans” is vague, ambiguous, and undefined. Brookdale further objects to this

25   Interrogatory that the term “PROMISED SERVICES” is overly broad, vague, unduly burdensome, and

26   not proportional to the needs of this case, including to the extent it incorporates the vague, ambiguous,

27   and undefined term “Service Plans.” Brookdale further objects to this Interrogatory as unduly

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1   burdensome and not proportional to the needs of this case to the extent that it seeks a response as to each

 2   Promised Service, in each Service Plan, for each Resident, at each and every community at issue, many

 3   of which are no longer affiliated with Brookdale, over the course of the class period. Brookdale further

 4   objects to this Interrogatory on the grounds that it purports to require Brookdale to disclose information

 5   pertaining to the means or processes by which Brookdale utilizes information for business planning

 6   purposes. The underlying process that Brookdale utilizes with respect to operations data collected from

 7   its communities is highly proprietary and fundamental to its internal business operations, business

 8   model, and projected future performance. Disclosure of information pertaining to the unique method or

 9   process by which Brookdale makes its business decisions will unduly prejudice Brookdale because it
10   constitutes a fundamental component of Brookdale’s competitive advantage. Brookdale further objects

11   to this Interrogatory on the basis of attorney-client privilege, work product doctrine, self-critical analysis

12   privilege and the protections accorded subsequent remedial measures, or any other applicable privilege

13   or protection. Brookdale further objects to this Interrogatory because Plaintiffs have exceeded the

14   number of Interrogatories permitted by Fed. R. Civ. P. 33(a)(1) without leave of Court. In Plaintiff

15   Stacia Stiner’s Interrogatories Propounded On Defendants, Set One, Plaintiffs served 11 interrogatories,

16   not including discrete subparts. In Plaintiff Stacia Stiner’s Interrogatories Propounded On Defendants,

17   Set Two, Plaintiffs served 14 interrogatories, not including discrete subparts, for a total of 25

18   interrogatories, not including discrete subparts.

19          Subject to and without waiving the foregoing objections and limitations, Brookdale responds as
20   follows: Brookdale has not identified any written policies, procedures, guidelines, or other documents

21   that govern or apply to the process of determining the hours, numbers or levels of caregiver staffing

22   needed to provide PROMISED SERVICES to Residents of the communities at issue following a diligent

23   search and reasonable inquiry.

24   INTERROGATORY NO. 5:

25          Please state the total amount of COMMUNITY FEES billed to RESIDENTS at each FACILITY

26   during the CLASS PERIOD.

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1   RESPONSE TO NO. 5:

 2          Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those

 3   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory

 4   that the term “total amount” is vague, ambiguous, and undefined. Brookdale further objects to this

 5   Interrogatory as overly broad, unduly burdensome, and not proportional to the needs of this case to the

 6   extent that it seeks a response for each Resident, at each and every community at issue, many of which

 7   are no longer affiliated with Brookdale, over the course of the class period. Brookdale further objects to

 8   this Interrogatory because Plaintiffs have exceeded the number of Interrogatories permitted by Fed. R.

 9   Civ. P. 33(a)(1) without leave of Court. In Plaintiff Stacia Stiner’s Interrogatories Propounded On
10   Defendants, Set One, Plaintiffs served 11 interrogatories, not including discrete subparts. In Plaintiff

11   Stacia Stiner’s Interrogatories Propounded On Defendants, Set Two, Plaintiffs served 14 interrogatories,

12   not including discrete subparts, for a total of 25 interrogatories, not including discrete subparts.

13          Subject to and without waiving the foregoing objections and limitations, Brookdale responds as

14   follows: The total amount of community fees billed to Residents at the communities at issue for the

15   time period of January 1, 2015, through December 31, 2020, is $37,432,875.66.

16   INTERROGATORY NO. 6:

17          Please state the total amount of COMMUNITY FEES collected from or on behalf of all

18   RESIDENTS pursuant to any RESIDENCY AGREEMENT during the CLASS PERIOD, net of any

19   refunds.
20   RESPONSE TO NO. 6:

21          Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those

22   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory

23   that the terms “total amount” and “refunds” are vague, ambiguous, and undefined. Brookdale further

24   objects to this Interrogatory as overly broad, unduly burdensome, and not proportional to the needs of

25   this case to the extent that it seeks a response for each Resident, at each and every community at issue,

26   many of which are no longer affiliated with Brookdale, over the course of the class period. Brookdale

27   further objects to this Interrogatory because Plaintiffs have exceeded the number of Interrogatories

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1   permitted by Fed. R. Civ. P. 33(a)(1) without leave of Court. In Plaintiff Stacia Stiner’s Interrogatories

 2   Propounded On Defendants, Set One, Plaintiffs served 11 interrogatories, not including discrete

 3   subparts. In Plaintiff Stacia Stiner’s Interrogatories Propounded On Defendants, Set Two, Plaintiffs

 4   served 14 interrogatories, not including discrete subparts, for a total of 25 interrogatories, not including

 5   discrete subparts.

 6          Subject to and without waiving the foregoing objections and limitations, Brookdale responds as

 7   follows: Brookdale does not record the amounts collected from or on behalf of Residents by individual

 8   categories of fees. The total amount of payments collected from Residents at the communities at issue

 9   for the time period of January 1, 2015, through December 31, 2020, is $2,044,134,545.68.
10   INTERROGATORY NO. 7:

11          Please state the total amount billed to all RESIDENTS for BASIC SERVICE RATE FEES,

12   including any increases in those fees, pursuant to any RESIDENCY AGREEMENT during the CLASS

13   PERIOD.

14   RESPONSE TO NO. 7:

15          Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those

16   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory

17   that the term “total amount” is vague, ambiguous, and undefined. Brookdale further objects to this

18   Interrogatory as overly broad, unduly burdensome, and not proportional to the needs of this case to the

19   extent that it seeks a response for each Resident, at each and every community at issue, many of which
20   are no longer affiliated with Brookdale, over the course of the class period. Brookdale further objects to

21   this Interrogatory because Plaintiffs have exceeded the number of Interrogatories permitted by Fed. R.

22   Civ. P. 33(a)(1) without leave of Court. In Plaintiff Stacia Stiner’s Interrogatories Propounded On

23   Defendants, Set One, Plaintiffs served 11 interrogatories, not including discrete subparts. In Plaintiff

24   Stacia Stiner’s Interrogatories Propounded On Defendants, Set Two, Plaintiffs served 14 interrogatories,

25   not including discrete subparts, for a total of 25 interrogatories, not including discrete subparts.

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1          Subject to and without waiving the foregoing objections and limitations, Brookdale responds as

 2   follows: The total amount of basic service rate fees billed to Residents at the communities at issue for

 3   the time period of January 1, 2015, through December 31, 2020, is $1,728,897,630.04.

 4   INTERROGATORY NO. 8:

 5          Please state the total amount collected from or on behalf of all RESIDENTS as BASIC

 6   SERVICE RATE FEES, including any increases, pursuant to any RESIDENCY AGREEMENT during

 7   the CLASS PERIOD.

 8   RESPONSE TO NO. 8:

 9          Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those
10   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory

11   that the term “total amount” is vague, ambiguous, and undefined. Brookdale further objects to this

12   Interrogatory as overly broad, unduly burdensome, and not proportional to the needs of this case to the

13   extent that it seeks a response for each Resident, at each and every community at issue, many of which

14   are no longer affiliated with Brookdale, over the course of the class period. Brookdale further objects to

15   this Interrogatory because Plaintiffs have exceeded the number of Interrogatories permitted by Fed. R.

16   Civ. P. 33(a)(1) without leave of Court. In Plaintiff Stacia Stiner’s Interrogatories Propounded On

17   Defendants, Set One, Plaintiffs served 11 interrogatories, not including discrete subparts. In Plaintiff

18   Stacia Stiner’s Interrogatories Propounded On Defendants, Set Two, Plaintiffs served 14 interrogatories,

19   not including discrete subparts, for a total of 25 interrogatories, not including discrete subparts.
20          Subject to and without waiving the foregoing objections and limitations, Brookdale responds as

21   follows: Brookdale does not record the amounts collected from or on behalf of Residents by individual

22   categories of fees. The total amount of payments collected from Residents at the communities at issue

23   for the time period of January 1, 2015, through December 31, 2020, is $2,044,134,545.68.

24   INTERROGATORY NO. 9:

25          Please state the total amount billed to all RESIDENTS for PERSONAL SERVICE RATE FEES,

26   including any increases, pursuant to any RESIDENCY AGREEMENT during the CLASS PERIOD.

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1   RESPONSE TO NO. 9:

 2          Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those

 3   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory

 4   that the term “total amount” is vague, ambiguous, and undefined. Brookdale further objects to this

 5   Interrogatory as overly broad, unduly burdensome, and not proportional to the needs of this case to the

 6   extent that it seeks a response for each Resident, at each and every community at issue, many of which

 7   are no longer affiliated with Brookdale, over the course of the class period. Brookdale further objects to

 8   this Interrogatory because Plaintiffs have exceeded the number of Interrogatories permitted by Fed. R.

 9   Civ. P. 33(a)(1) without leave of Court. In Plaintiff Stacia Stiner’s Interrogatories Propounded On
10   Defendants, Set One, Plaintiffs served 11 interrogatories, not including discrete subparts. In Plaintiff

11   Stacia Stiner’s Interrogatories Propounded On Defendants, Set Two, Plaintiffs served 14 interrogatories,

12   not including discrete subparts, for a total of 25 interrogatories, not including discrete subparts.

13          Subject to and without waiving the foregoing objections and limitations, Brookdale responds as

14   follows: The total amount of personal service rate fees billed to Residents at the communities at issue

15   for the time period of January 1, 2015, through December 31, 2020, is $369,386,381.55.

16   INTERROGATORY NO. 10:

17          Please state the total amount collected from or on behalf of all RESIDENTS as PERSONAL

18   SERVICE RATE FEES, including any increases, pursuant to any RESIDENCY AGREEMENT during

19   the CLASS PERIOD, net of any refunds.
20   RESPONSE TO NO. 10:

21          Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those

22   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory

23   that the terms “total amount” and “refunds” are vague, ambiguous, and undefined. Brookdale further

24   objects to this Interrogatory as overly broad, unduly burdensome, and not proportional to the needs of

25   this case to the extent that it seeks a response for each Resident, at each and every community at issue,

26   many of which are no longer affiliated with Brookdale, over the course of the class period. Brookdale

27   further objects to this Interrogatory because Plaintiffs have exceeded the number of Interrogatories

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1   permitted by Fed. R. Civ. P. 33(a)(1) without leave of Court. In Plaintiff Stacia Stiner’s Interrogatories

 2   Propounded On Defendants, Set One, Plaintiffs served 11 interrogatories, not including discrete

 3   subparts. In Plaintiff Stacia Stiner’s Interrogatories Propounded On Defendants, Set Two, Plaintiffs

 4   served 14 interrogatories, not including discrete subparts, for a total of 25 interrogatories, not including

 5   discrete subparts.

 6          Subject to and without waiving the foregoing objections and limitations, Brookdale responds as

 7   follows: Brookdale does not record the amounts collected from or on behalf of Residents by individual

 8   categories of fees. The total amount of payments collected from Residents at the communities at issue

 9   for the time period of January 1, 2015, through December 31, 2020, is $2,044,134,545.68.
10   INTERROGATORY NO. 11:

11          Please state the total amount of FEES FOR SELECT AND THERAPEUTIC SERVICES billed

12   to all RESIDENTS during the CLASS PERIOD.

13   RESPONSE TO NO. 11:

14          Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those

15   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory

16   that the term “total amount” is vague, ambiguous, and undefined. Brookdale further objects to this

17   Interrogatory as overly broad, unduly burdensome, and not proportional to the needs of this case to the

18   extent that it seeks a response for each Resident, at each and every community at issue, many of which

19   are no longer affiliated with Brookdale, over the course of the class period. Brookdale further objects to
20   this Interrogatory because Plaintiffs have exceeded the number of Interrogatories permitted by Fed. R.

21   Civ. P. 33(a)(1) without leave of Court. In Plaintiff Stacia Stiner’s Interrogatories Propounded On

22   Defendants, Set One, Plaintiffs served 11 interrogatories, not including discrete subparts. In Plaintiff

23   Stacia Stiner’s Interrogatories Propounded On Defendants, Set Two, Plaintiffs served 14 interrogatories,

24   not including discrete subparts, for a total of 25 interrogatories, not including discrete subparts.

25          Subject to and without waiving the foregoing objections and limitations, Brookdale responds as

26   follows: The total amount of fees for select and therapeutic services billed to Residents at the

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1   communities at issue for the time period of January 1, 2015, through December 31, 2020, is

 2   $6,291,282.41.

 3   INTERROGATORY NO. 12:

 4          Please state the total amount of FEES FOR SELECT AND THERAPEUTIC SERVICES

 5   collected from or on behalf of all RESIDENTS during the CLASS PERIOD.

 6   RESPONSE TO NO. 12:

 7          Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those

 8   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory

 9   that the term “total amount” is vague, ambiguous, and undefined. Brookdale further objects to this
10   Interrogatory as overly broad, unduly burdensome, and not proportional to the needs of this case to the

11   extent that it seeks a response for each Resident, at each and every community at issue, many of which

12   are no longer affiliated with Brookdale, over the course of the class period. Brookdale further objects to

13   this Interrogatory because Plaintiffs have exceeded the number of Interrogatories permitted by Fed. R.

14   Civ. P. 33(a)(1) without leave of Court. In Plaintiff Stacia Stiner’s Interrogatories Propounded On

15   Defendants, Set One, Plaintiffs served 11 interrogatories, not including discrete subparts. In Plaintiff

16   Stacia Stiner’s Interrogatories Propounded On Defendants, Set Two, Plaintiffs served 14 interrogatories,

17   not including discrete subparts, for a total of 25 interrogatories, not including discrete subparts.

18          Subject to and without waiving the foregoing objections and limitations, Brookdale responds as

19   follows: Brookdale does not record the amounts collected from or on behalf of Residents by individual
20   categories of fees. The total amount of payments collected from Residents at the communities at issue

21   for the time period of January 1, 2015, through December 31, 2020, is $2,044,134,545.68.

22   INTERROGATORY NO. 16:

23          Identify each FACILITY by its common name (as marketed to the public), legal or corporate

24   name, address, and time period during which it was leased, owned, operated and/or managed by

25   BROOKDALE.

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1   RESPONSE TO NO. 16:

 2          Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those

 3   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory as

 4   overly broad, unduly burdensome, and not proportional to the needs of this case to the extent it seeks a

 5   response as to each Facility and would require Brookdale to sort through an indefinite number of records

 6   to identify the information requested in the Interrogatory for each and every community at issue, many

 7   of which are no longer affiliated with Brookdale, over the course of the class period. Brookdale further

 8   objects to this Interrogatory to the extent that such information is publicly available or otherwise

 9   accessible to Plaintiffs. Brookdale further objects to this Interrogatory because Plaintiffs have exceeded
10   the number of Interrogatories permitted by Fed. R. Civ. P. 33(a)(1) without leave of Court. In Plaintiff

11   Stacia Stiner’s Interrogatories Propounded On Defendants, Set One, Plaintiffs served 11 interrogatories,

12   not including discrete subparts. In Plaintiff Stacia Stiner’s Interrogatories Propounded On Defendants,

13   Set Two, Plaintiffs served 14 interrogatories, not including discrete subparts, for a total of 25

14   interrogatories, not including discrete subparts.

15          Subject to and without waiving the foregoing objections and limitations, Brookdale responds as

16   follows:

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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     DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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     DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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     DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
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 1   INTERROGATORY NO. 17:

 2          For each FACILITY, identify the district, region, and division within Brookdale’s organizational

 3   structure to which the FACILITY is assigned.

 4   RESPONSE TO NO. 17:

 5          Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those

 6   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory

 7   that the terms “district,” “region,” and “division” are vague, ambiguous, and undefined. Brookdale

 8   further objects to this Interrogatory as overly broad, unduly burdensome, and not proportional to the

 9   needs of this case to the extent it seeks a response as to each Facility and would require Brookdale to
10   sort through an indefinite number of records to identify the information requested in the Interrogatory

11   for each and every community at issue, many of which are no longer affiliated with Brookdale, over the

12   course of the class period. Brookdale further objects to this Interrogatory because Plaintiffs have

13   exceeded the number of Interrogatories permitted by Fed. R. Civ. P. 33(a)(1) without leave of Court. In

14   Plaintiff Stacia Stiner’s Interrogatories Propounded On Defendants, Set One, Plaintiffs served 11

15   interrogatories, not including discrete subparts. In Plaintiff Stacia Stiner’s Interrogatories Propounded

16   On Defendants, Set Two, Plaintiffs served 14 interrogatories, not including discrete subparts, for a total

17   of 25 interrogatories, not including discrete subparts.

18          Subject to and without waiving the foregoing objections and limitations, Brookdale responds as

19   follows:
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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
                              SET ONE / CASE NO. 4:17-CV-03962-HSG
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     DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
                            SET ONE / CASE NO. 4:17-CV-03962-HSG
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 1   INTERROGATORY NO. 23:

 2           Please identify the meaning of the data field entitled “Rounded_Hours” as it appears in the

 3   timekeeping/payroll data produced by YOU as BKD1384958 through BKD1284975 and the source and

 4   calculation of the data entries for that field.

 5   RESPONSE TO NO. 23:

 6           Brookdale incorporates its Objections To All Interrogatories, and Plaintiffs should read those

 7   objections as if they were re-written in this Response. Brookdale objects to this Interrogatory that the

 8   phrases “source and calculation” and “data entries for that field” are vague, ambiguous, and undefined.

 9   Brookdale further objects to this Interrogatory because Plaintiffs have exceeded the number of
10   Interrogatories permitted by Fed. R. Civ. P. 33(a)(1) without leave of Court. In Plaintiff Stacia Stiner’s

11   Interrogatories Propounded On Defendants, Set One, Plaintiffs served 11 interrogatories, not including

12   discrete subparts. In Plaintiff Stacia Stiner’s Interrogatories Propounded On Defendants, Set Two,

13   Plaintiffs served 14 interrogatories, not including discrete subparts.

14           Subject to and without waiving the foregoing objections and limitations, Brookdale responds as

15   follows: The “Rounded_Hours” field represents the total hours that were paid for the duration of time

16   between the “Rounded_Start” and “Rounded_End” fields in the Kronos timekeeping platform.

17

18    DATED: April 23, 2021                                   SEYFARTH SHAW LLP
19
20                                                            By: /s/ Gerald L. Maatman, Jr.
                                                                 Gerald L. Maatman, Jr.
21
                                                                  Attorneys for Defendants
22                                                                BROOKDALE SENIOR LIVING, INC.
                                                                  AND BROOKDALE SENIOR LIVING
23                                                                COMMUNITIES, INC.
24

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        DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
                               SET ONE / CASE NO. 4:17-CV-03962-HSG
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 1                                      CERTIFICATE OF SERVICE

 2          I hereby certify that on April 23, 2021, a copy of the foregoing Defendants’ Supplemental

 3   Responses To Plaintiff Helen Carlson’s Interrogatories, Set One, was served via email on the parties

 4   listed below.
                           Mark T. Johnson
 5                         Guy B. Wallace
 6                         Travis Close
                           Schneider Wallace Cottrell Konecky LLP
 7                         2000 Powell Street, Suite 1400
                           Emeryville, CA 94608
 8                         Tel: 415-421-7100
                           mjohnson@schneiderwallace.com
 9
                           gwallace@schneiderwallace.com
10                         tclose@schneiderwallace.com

11                         Gay C. Grunfeld
                           Benjamin Bien-Kahn
12                         Jenny Yelin
                           Rosen Bien Galvan & Grunfeld LLP
13                         101 Mission Street, Sixth Floor
14                         San Francisco, CA 94105
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15                         GGrunfeld@rbgg.com
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18
                           870 Market Street, Suite 1212
19                         San Francisco, CA 94102
                           Tel: 415-362-9800
20                         brian@stebnerassociates.com
21                                               By: /s/ Gerald L. Maatman, Jr.
                                                     Gerald L. Maatman, Jr.
22

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       DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF HELEN CARLSON’S INTERROGATORIES,
                              SET ONE / CASE NO. 4:17-CV-03962-HSG
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               Exhibit 3
          Case 4:17-cv-03962-HSG Document 278-1 Filed 08/18/21 Page 82 of 148



 1   SEYFARTH SHAW LLP
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 3   jriley@seyfarth.com
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13   Telephone:    (916) 448-0159
     Facsimile:    (916) 397-8549
14
     Attorneys for Defendants
15   BROOKDALE SENIOR LIVING, INC. and
     BROOKDALE SENIOR LIVING COMMUNITIES, INC.
16

17                                     UNITED STATES DISTRICT COURT

18                               NORTHERN DISTRICT OF CALIFORNIA

19
     STACIA STINER, et al.,                            Case No. 4:17-cv-03962-HSG
20
                  Plaintiffs,                          DEFENDANTS’ SUPPLEMENTAL
21       v.                                            RESPONSES TO PLAINTIFF STACIA
                                                       STINER’S INTERROGATORIES, SET
     BROOKDALE SENIOR LIVING, INC.;
22                                                     ONE
     BROOKDALE SENIOR LIVING
     COMMUNITIES, INC.; and DOES 1 through 100,
23
                  Defendants.
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           DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE /
                                   CASE NO. 4:17-CV-03962-HSG
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 1          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendants Brookdale

 2   Senior Living, Inc. and Brookdale Senior Living Communities, Inc. (“Brookdale”), by and through their

 3   attorneys, Seyfarth Shaw LLP, hereby submit their Supplemental Responses and Objections

 4   (“Responses”) to Plaintiff Stacia Stiner’s Interrogatories Propounded on Brookdale, Set One

 5   (“Interrogatories”).

 6                                        PRELIMINARY STATEMENT
 7          Brookdale makes these Responses to the Interrogatories expressly reserving and without waiver

 8   of: (a) all rights to object on the basis of competency, relevance, materiality, confidentiality,

 9   authenticity, privilege, or any other proper grounds to the use of any of Brookdale’s responses or
10   objections to the Interrogatories, any information contained therein, or any documents produced in

11   response to the Interrogatories, as evidence, in whole or in part, in any subsequent proceeding, action, or

12   matter, or in any trial in this or any other action; (b) all rights to object on any ground and at any time to

13   a demand or request for further response to the Interrogatories, other discovery requests, or proceedings

14   involving or related to the subject matter of the Interrogatories, information, or documents Brookdale

15   has provided or may provide in response to the Interrogatories; and (c) the right at any time to review,

16   revise, correct, add to, supplement, amend, or clarify any of the responses propounded herein.

17          Brookdale has not yet completed its discovery and investigation of the facts pertaining to the

18   above-captioned action, review of its own documents, or trial preparation. Brookdale bases its

19   responses and objections on information now known to Brookdale. Brookdale reserves the right to rely
20   on any facts or other evidence that may develop or come to its attention at a later date.

21          These Responses are subject to amendment and supplementation as Brookdale acquires

22   additional information and completes its review and analysis. Brookdale’s Responses to the

23   Interrogatories were prepared in consultation with its attorneys and may not exactly match the words or

24   phrases that might be used by individual employees in the course of this litigation to describe events,

25   policies, or matters discussed herein.

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           DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE /
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 1                               OBJECTIONS TO ALL INTERROGATORIES

 2          1.      Brookdale objects to the Interrogatories as overly broad, unduly burdensome, and not

 3   proportionate to the needs of this case to the extent that they seek documents and information from each

 4   and every community that Brookdale has operated in California. Brookdale has operated approximately

 5   90 communities in California over the course of just the past six years, and producing all information

 6   related to these Interrogatories for all communities, many of which are no longer affiliated with

 7   Brookdale, would impose an unreasonable burden.

 8          2.      Brookdale objects to the Interrogatories to the extent they seek work product, trial

 9   preparation materials, identification of documents prepared after the commencement of this litigation,

10   communications protected from disclosure by the attorney-client privilege, or documents protected from

11   disclosure by any applicable law, rule, privilege or immunity. Nothing contained in these Responses is

12   intended to or may be construed as a waiver of the attorney-client privilege, the work product doctrine,

13   or any other applicable law, rule, or privilege.

14          3.      Brookdale objects to the Interrogatories, and to the definitions and instructions

15   accompanying the Interrogatories, to the extent they seek or purport to impose definitions, instructions,

16   or obligations outside of those imposed by Rules 26 and 33 of the Federal Rules of Civil Procedure, the

17   Local Civil Rules of this Court, or the Orders of this Court. Brookdale will respond to the

18   Interrogatories in accordance with its obligations as set forth in those Rules and/or Orders.

19          4.      Brookdale objects to the Interrogatories to the extent that they seek trade secrets and/or

20   confidential and/or proprietary business information.

21          5.      Brookdale objects to the Interrogatories to the extent that they seek information that is

22   publicly available or otherwise accessible to Plaintiffs.

23          6.      Brookdale objects to the Interrogatories to the extent that they fail to identify the

24   information to be produced with reasonable particularity. Brookdale responds to each of the individual

25   Interrogatories as it understands and interprets each Interrogatory. Brookdale reserves the right to

26   amend or supplement these responses in the event that Plaintiffs later assert a different interpretation that

27   is accepted by Brookdale.

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           DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE /
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 1          7.      Brookdale objects to the definition of the terms “ANY” and “ALL” as overbroad, unduly

 2   burdensome, vague, indefinite, ambiguous, and not proportionate to the legitimate discovery needs of

 3   the case. Plaintiffs’ definition of these terms requires a simultaneously expansive and restrictive reading

 4   of both. Brookdale construes “any” and “all” as they are commonly understood in ordinary English.

 5          8.      Each and every answer is made subject to the foregoing general objections and to any

 6   protective order entered by the Court, regardless of whether a general or specific objection is stated in

 7   the answer to the particular Interrogatory, and Brookdale does not waive any general objections not

 8   referred to in any particular answer.

 9          9.      Brookdale reserves the right to supplement its Responses with information or documents
10   that come to its attention or become available after service of these Responses and to use such

11   information at any hearing or proceeding, including the trial of this or any other action.

12               SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES
13   INTERROGATORY NO. 9:

14          Please identify ANY and ALL FACILITIES that were constructed for first occupancy after

15   January 26, 1993.

16   RESPONSE:

17          Brookdale incorporates its Objections to All Interrogatories, and Plaintiffs should read those

18   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory as

19   unduly burdensome and harassing, as it is duplicative of Request for Production No. 14, Set Two.
20   Brookdale further objects to this Interrogatory to the extent that it calls for a legal and/or expert opinion

21   and/or conclusion as to what might constitute construction “for first occupancy.”

22          Brookdale responds as follows: Subject to the foregoing objections and limitations, and pursuant

23   to Rule 33(d) of the Federal Rules of Civil Procedure, Brookdale hereby refers Plaintiffs to Bates Nos.

24   BKD00004402 to 4768, 5214 to 7369, 7889 to 16799, and 16883 to 18254, which were provided to

25   Plaintiffs on May 21, 2019, and contain information responsive to this Interrogatory.

26          Brookdale further states that the following communities were constructed after January 26, 1993:

27   Bakersfield; Brookhurst; Carlsbad; Carmel Valley; Citrus Heights; Cortona Park; Danville; Elk Grove;

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                                                           4
           DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE /
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 1   Fountaingrove; Hemet; Kettleman Lane; Lodi; Mirage Inn; Murrieta; North Fremont; Northridge; Paso

 2   Robles; Red Bluff; Riverwalk; Roseville; Salinas; San Dimas; San Juan Capistrano; Sterling Court;

 3   Vacaville; Windsor; and Yorba Linda.

 4   INTERROGATORY NO. 10:

 5           Please identify ANY and ALL FACILITIES that were ALTERED after January 26, 1992.

 6   RESPONSE:

 7           Brookdale incorporates its Objections to All Interrogatories, and Plaintiffs should read those

 8   objections as if they were re-written in this Response. Brookdale further objects to this Interrogatory as

 9   unduly burdensome and harassing, as it is duplicative of Request for Production No. 14, Set Two.
10   Brookdale further objects to Plaintiffs’ definition of “ALTERATION” or “ALTERED” as overbroad,

11   vague, and unduly burdensome, as the definition requires speculation as to what might constitute “a

12   change to a building or facility that affects or could affect the usability of the building or facility or

13   portion thereof.” Brookdale further objects to this Interrogatory to the extent that it calls for a legal

14   and/or expert opinion and/or conclusion as to what might constitute an “ALTERATION” or being

15   “ALTERED.”

16           Brookdale responds as follows: Subject to the foregoing objections and limitations, and pursuant

17   to Rule 33(d) of the Federal Rules of Civil Procedure, Brookdale hereby refers Plaintiffs to Bates Nos.

18   BKD00004402 to 4768, 5214 to 7369, 7889 to 16799, and 16883 to 18254, which were provided to

19   Plaintiffs on May 21, 2019, and contain information responsive to this Interrogatory.
20           Brookdale further states that following a diligent search and reasonable inquiry, Brookdale has

21   not identified any information for a supplemental response to this Interrogatory.

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           DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE /
                                   CASE NO. 4:17-CV-03962-HSG
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 1
     DATED: January 22, 2021                      SEYFARTH SHAW LLP
 2

 3
                                                  By: /s/ Gerald L. Maatman, Jr.
 4                                                              Gerald L. Maatman, Jr.
 5                                                    Attorney for Defendants
                                                      BROOKDALE SENIOR LIVING, INC.
 6                                                    AND BROOKDALE SENIOR LIVING
                                                      COMMUNITIES, INC.
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         DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE /
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Mark T. Johnson

From:                   Kopczynski, Jeffrey A. N. <jkopczynski@omm.com>
Sent:                   Thursday, March 12, 2020 7:53 AM
To:                     Mark T. Johnson
Cc:                     Guy B. Wallace; Travis Close; Gay C. Grunfeld; Barker, Jeffrey A.; Powers, Matt; Buffaloe, William
Subject:                Stiner -- Suspension of Inspections


Dear Mark:

As you know, California declared a state of emergency on March 5 in response to the coronavirus threat,
which, as of yesterday, the World Health Organization officially classified as a pandemic. According to the
CDC, older adults with underlying chronic medical conditions—i.e., many residents of Brookdale
communities—are at the “highest risk of being affected by COVID-19,” including fatalities. As a result, assisted
living and elder care communities throughout the country are, for the protection of their residents, implementing
strict guidelines limiting access by non-essential third parties who are not necessary for operation of the
facilities or to meet resident needs (including vendors, visitors, and, in some circumstances, even family
members). Following the guidance of public health officials, Brookdale has implemented strict access policies
for communities in California.

Until the public health crisis stabilizes, we do not have physical access to any communities and therefore need
to temporarily cancel any further inspections. We will let you know as soon as we are able to discuss a
timetable for rescheduling those inspections.

Jeff

O’Melveny
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               Exhibit 6
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               Exhibit 7
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               Exhibit 8
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               Exhibit 9
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               Exhibit 10
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               Exhibit 11
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               Exhibit 12
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                                                              KEVIN BOWMAN
                                                           Topic 2  June 23, 2021
                                                            Exhibit 224
                                                           Lana L. Loper, RMR, CRR, CSR 9667
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               Exhibit 13
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               Exhibit 14
            Filed Conditionally Under Seal
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               Exhibit 15
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               Exhibit 16
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               Exhibit 17
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               Exhibit 18
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               Exhibit 19
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               Exhibit 20
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               Exhibit 26
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               Exhibit 27
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               Exhibit 31
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               Exhibit 32
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               Exhibit 33
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               Exhibit 34
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               Exhibit 35
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               Exhibit 37
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               Exhibit 41
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               Exhibit 42
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